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 1                                                          The Honorable S. Kate Vaughan
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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                    SEATTLE DIVISION
 8

 9 TSR LLC,                                         Case No.: 2:21-cv-01705-SKV

10                               Plaintiff,         DECLARATION OF DAVE JOHNSON
                                                    IN SUPPORT OF THE
11        v.                                        COUNTERCLAIM DEFENDANTS’
                                                    RESPONSE TO MOTION FOR A
12 WIZARDS OF THE COAST LLC,                        PRELIMINARY INJUNCTION
13
                                 Defendant.
14
     WIZARDS OF THE COAST LLC,
15
                   Counterclaim Plaintiff,
16
          v.
17
     TSR LLC; JUSTIN LANASA; and DUNGEON
18
     HOBBY SHOP MUSEUM LLC,
19
                   Counterclaim Defendants.
20

21         I, Dave Johnson, declare as follows:

22         1.       I am a gaming writer who worked with TSR LLC (“TSR”), through Justin LaNasa

23 (“Mr. LaNasa”), to co-write the transcript for the Star Frontiers New Genesis game (“SFNG

24 Game”). All of the statements in this declaration are made based on personal knowledge.

25         2.       I submit this declaration in support of Plaintiff and Counterclaim Defendants’

26 Response to Defendant and Counterclaim Plaintiff’s Motion for a Preliminary Injunction. In this
     DECLARATION OF DAVE JOHNSON IN SUPPORT OF THE                            Immix Law Group PC
     COUNTERCLAIM DEFENDANTS’ RESPONSE TO MOTION                              400 Winslow Way E. Suite 210
                                                                              Bainbridge Island, WA 98110
                                                                              Phone: (503) 802-5533
     FOR A PRELIMINARY INJUNCTION                                    Page 1   Facsimile: (503) 802-5351
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 1 declaration, I will refer to TSR, Mr. LaNasa, and Dungeon Hobby Shop Museum LLC collectively

 2 as the “Counterclaim Defendants.” I will refer to Defendant and Counterclaim Plaintiff Wizards

 3 of the Coast LLC as “Wizards.”
 4         3.       In the fall of 2021 and into 2022, I worked with TSR (through Mr. LaNasa) to co-

 5 write a transcript for a new game, which would become the SFNG Game. I did this as a volunteer

 6 and only asked for author credit.

 7         4.       The SFNG Game that I co-wrote with TSR did not include any racist, transphobic,

 8 or otherwise offensive content.

 9         5.       Mr. LaNasa told me that he shared the Google Doc document version of the

10 transcript with Wizard Tower Games (“WTG”), through its owner Don Semora (“Mr. Semora”),

11 so that WTG could provide printing, binding, and editing services to help us in finalizing the game

12 (and for no other reason). My understanding is that this copy was provided confidentially and
13 protected by a non-disclosure agreement between Mr. Semora and TSR.
14         6.       I did not distribute the Google Doc document version of the SFNG Game to anyone

15 except for Mr. LaNasa, at any time. I never shared this document with Wizards.
16         7.       No   one   with    the   name   “Larry   Schroeder”    or   the      email          address

17 “larryschroeder1947@gmail.com” is in any way affiliated with me. The “Star Frontiers Not

18 Genuine” game that was posted on the Lulu Press, Inc. website is not in any way affiliated with

19 the draft version of the SFNG Game that was co-written by me and TSR, which I was told was

20 confidentially provided to Mr. Semora.

21         8.       I do not know where any of the altered, unauthorized versions of the SFNG Game

22 that were posted on the internet came from (including the version described in paragraph 7 above

23 and the version that has been filed by Wizards as Exhibit E to the motion, which has been provided

24 to me). I do not agree with or approve of any of the offensive content highlighted in Exhibit E—

25 whether racial, gender-based, or otherwise. I did not make or approve of any edits to incorporate

26 this offensive content into the SFNG Game transcript that TSR and I co-wrote, at any time. I am
     DECLARATION OF DAVE JOHNSON IN SUPPORT OF THE                              Immix Law Group PC
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 1 offended and outraged by this content and by the fact that a third party would modify the game I

 2 worked on to incorporate such material and then falsely attribute the offensive material to me.

 3         9.       To my knowledge, the SFNG Game transcript is not available to the public. I have

 4 never shared a copy of the transcript with Wizards.

 5         10.      The last version of the SFNG Game in which I had any input was the version of the

 6 transcript that was printed and put in a three-ring binder that I was told WTG provided to TSR

 7 after it claimed to have completed the editing process, which did not include any racist,
 8 transphobic, or otherwise offensive content.

 9         11.      To the best of my knowledge, Mr. Semora/WTG was the only third party with

10 editing authority and access to the original SFNG Game transcript.

11         12.      I never gave Mr. Semora or anyone else permission to publish, release, or distribute

12 the SFNG Game, especially not a version that had been modified to include offensive and
13 inflammatory content.
14         13.      The only versions of the SFNG Game that represent my work product are the draft

15 Google Doc transcript that Mr. LaNasa provided to WTG through Mr. Semora, and the version
16 that I was told WTG provided to TSR in three-ring binders after I was told that it claimed to have
17 completed the editing process. Neither of these versions contained offensive racial or gender-

18 based content, and I did not at any time make or approve of any edits to incorporate such content.

19 I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF
   MY KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE
20 AS EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY.

21

22         DATED October 10, 2022
23

24

25                                                    Dave Johnson

26
     DECLARATION OF DAVE JOHNSON IN SUPPORT OF THE                                Immix Law Group PC
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             Case 2:21-cv-01705-SKV Document 40 Filed 10/10/22 Page 4 of 4




1                                    CERTIFICATE OF SERVICE

2          I hereby certify that on October 10, 2022, I caused to be served a true copy of the

3 foregoing DECLARATION            OF       DAVE   JOHNSON       IN    SUPPORT               OF            THE

4 COUNTERCLAIM DEFENDANTS’ RESPONSE TO MOTION FOR A PRELIMINARY

5 INJUNCTION on the party or attorneys listed below, by email:

6    Stuart R. Dunwoody                             Russell D. Nugent
     Lauren B. Rainwater                            THE HUMPHRIES LAW FIRM P.C.
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     Plaintiff Wizards of the Coast LLC
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22                                            Attorneys for Plaintiff and Counterclaim Defendant
23                                            TSR LLC and Counterclaim Defendants Justin
                                              LaNasa and Dungeon Hobby Shop Museum LLC
24

25

26
     CERTIFICATE OF SERVICE - Page 1                                        Immix Law Group PC
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